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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                               STATESBORO DIVISION




UNITED STATES OF AMERICA


      V.                                             CR 612-001-2


TYSON LAMAR DAVIS




                                   ORDER




      Defendant Tyson Lamar Davis was indicted on several drug-

related      offenses   on   January   10,   2012,    but    pursuant   to   a   plea

agreement,     he pled guilty to one count of the lesser included

offense-conspiracy to distribute controlled substances.                      He was

sentenced on December 5, 2012, to serve 230 months imprisonment.

      Recently,      Davis   penned    a   letter    to     the   "Federal   Public

Defender" seeking the appointment of counsel to aid him in filing

a   motion   for   reduction   of sentence.     Because       this   district    does


not employ an office of Federal Public Defenders, the Clerk of

Court docketed Davis's letter as a motion for the appointment of

counsel under the Criminal Justice Act.


      It is well settled that "a criminal defendant has no right to

counsel beyond his first appeal."             Coleman v. Thompson, 501 U.S.

722, 756 (1991).         Moreover, a district court cannot modify an

imposed sentence except under the limited exceptions of 18 U.S.C.
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§ 3582(c).      A criminal defendant, however, is not entitled to an

appointed attorney for proceedings initiated under § 3582(c).                    See

United    States   v.    Webb,    565    F.3d   789,   794    (11^^    Cir.   2009).

Moreover, upon review of the potential grounds for relief Davis

mentions in his letter, the Court has determined that a motion for

sentence reduction would be futile.


       Davis first mentions the First Step Act of 2018.                   The only

provision      of the   First Step       Act that    applies retroactively is

Section 404, which allows a court to impose a reduced sentence as

if Sections 2 and 3 of the Fair Sentencing Act of 2010 were in

effect at the time the covered offense was committed.                  Here, Davis

was charged, convicted and sentenced                after August 3, 2010, the

effective date of the Fair Sentencing Act.               Thus, his conviction

is not a covered offense under the First Step Act.                See First Step

Act, Pub. L. No. 115-391, § 404(a), 132 Stat. 5194 (defining a

^'covered offense'' as "a violation . . . that was committed before


August    3,   2010"    (emphasis    added)).        Stated   another     way,   the

statutory changes brought about by the Fair Sentencing Act of 2010

were     already   in    effect     at    the   time   Davis     was    sentenced.

Accordingly, the First Step Act affords him no relief.^




^ The Court notes that Davis received the benefit of Amendment 782
to the United States Sentencing Guidelines, which lowered the drug
quantity tables of U.S.S.G. § 2D1.1, when his sentence was reduced
to 185 months. (See Order of October 22, 2015, Doc. 541.)
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        Davis   next   mentions         issues   he   has    with   his counsel        and   the


sentencing enhancements applied in his case.                            He also cites the

cases of Rehaif v. United States,                           U.S.        , 139 S. Ct. 2191

(Jun. 21, 2019), and United States v. Gary, 954 F.3d 194 (4'^'^ Cir.

2020),    which    relied      upon      Rehaif.      To pursue these            grounds for

relief,    which    attack the legality of his                     sentence,       Davis must

petition for habeas corpus relief under 28 U.S.C. § 2255 by filing

a motion to vacate, set aside or correct his sentence.                                 Again, a

habeas    petitioner         has   no    absolute     constitutional           right    to   the

appointment of counsel.             Henderson v. Campbell, 353 F.3d 880, 892

(11th Cir. 2003) (held in the context of a habeas proceeding under

28 U.S.C. § 2254).            Rather, a court may appoint counsel only if

the   interests        of    justice      so     require.          28   U.S.C.     §    2255(g)

(incorporating         by     reference        the    standards         of    18    U.S.C.    §

3006A(a)(2)(B) for the appointment of counsel); see McCall v. Cook,

495 F. App'x 29, 31 (11th Cir. 2012) (stating that civil litigants,

even prisoners, have no constitutional right to counsel; rather,

appointment of counsel in civil cases is "'a                            privilege that is

justified       only    by    exceptional          circumstances"            (quoted     source

omitted)).        Here, Defendant has not shown that the interests of

justice demand the appointment of an attorney.                          In particular, the

Court notes that Rehaif and Gary pertain to a conviction on a gun-

related charge under 18 U.S.C. § 922(g), which is inapplicable

here.
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        In sum, Davis has not demonstrated that he is entitled to

appointed counsel.      Accordingly, his motion for appointment of

counsel (doc. 603) is DENIED.

     ORDER ENTERED at Augusta, Georgia, this                   of August,

2020.




                                        J. R^N£i^HALL,^HIEF JUDGE
                                        UNITED States district court
                                        SOUTBERN   DISTRICT OF GEORGIA
